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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:19−cr−00277
                                                           Honorable Edmond E. Chang
Concepcion Malinek
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 9, 2021:


        MINUTE entry before the Honorable Edmond E. Chang as to Concepcion
Malinek: Members of the public and media will be able to call in to listen to the
02/17/2021 sentencing hearing. The call−in number is 1−650−479−3207 and the access
code is 1804344976##. Persons granted remote access to proceedings are reminded of the
general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Emailed notice (mw, )




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